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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS


IN RE BROILER CHICKEN ANTITRUST
                                                Case No.: 1:16-cv-08637
LITIGATION
                                                Judge Thomas M. Durkin
This Document Relates To:
                                                Magistrate Judge Jeffrey T. Gilbert
Chick-fil-A, Inc. v. Agri Stats, Inc. et al.,
20-cv-7205



  REPLY IN FURTHER SUPPORT OF DIRECT-ACTION PLAINTIFF CHICK-FIL-A,
INC.’S MOTION TO PARTIALLY RECONSIDER THE SEPTEMBER 22, 2020 ORDER
 AND OBJECTION TO MAGISTRATE JUDGE’S MAY 7 AND MAY 13, 2021 ORDERS
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        Defendants assert that the Court is “well within its discretion” to bifurcate a single facet of

an overarching antitrust conspiracy for expert reports, summary judgment, and trial (ECF No. 4834

at 1, 3, 10, 12, 21). But Defendants fail to cite a single antitrust conspiracy case in which that was

done. That is because bifurcation would be improper here for both legal and practical reasons.

Legally, bifurcating for trial a single claim of an overarching conspiracy would violate the

principles set forth in Continental Ore and the Seventh Amendment. Practically, bifurcating for

trial a single claim of an overarching conspiracy would create inefficiencies that can be avoided

even if discovery is bifurcated. For these reasons, Chick-fil-A’s motion for partial reconsideration

of the Bifurcation Order should be granted, and the schedule should be adjusted to allow Chick-

fil-A to try its entire case in one setting.

                                               ARGUMENT

I.      DEFENDANTS CANNOT LEGALLY SPLIT COUNT ONE INTO THREE
        SEPARATE CLAIMS. 1

        A.      SPLITTING COUNT ONE INTO THREE SEPARATE CLAIMS WOULD
                VIOLATE CONTINENTAL ORE.

        As set forth in Chick-fil-A’s Supplemental Brief (ECF No. 4754), Continental Ore

instructs that “the character and effect of a conspiracy are not to be judged by dismembering it and

viewing its separate parts.” Cont’l Ore Co. v. Union Carbide & Carbon Corp., 370 U.S. 690, 699

(1962). But Defendants’ response asks the Court to do just that, which is exactly what Continental




        1
          Pursuant to Rule 54(b) of the Federal Rules of Civil Procedure, the Court may revise any of its
orders prior to entry of judgment. Accordingly, the Court may revise the Bifurcation Order without the need
to expressly decide whether Continental Ore, the Seventh Amendment, or any other law requires it to do
so. But even if “manifest error” was required to warrant reconsideration, overlooking controlling precedent
suffices. Oto v. Metro. Life Ins., 224 F.3d 601, 606 (7th Cir.2000). Without the benefit of briefing when
making its bifurcation decision, the Court was not apprised of the controlling precedent that Chick-fil-A,
which had not yet filed its lawsuit at the time of the Bifurcation Order, has brought to light.


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Ore forbids. 2 Try as they might, Defendants could not locate a single case in which different facets

of an antitrust conspiracy were bifurcated for summary judgment and trial. 3 And for good reason.

Splitting up claims under any of Rules 20(b), 21, or 42(b) “is generally disallowed in cases alleging

single conspiracies or even in cases where the allegations are a series of overlapping and

interwoven conspiracies.” In re Vitamins Antitrust Litig., 2000 WL 1475705, at *17 (D.D.C. May

9, 2000), reconsideration denied, 2000 WL 34230081 (D.D.C. July 28, 2000) (quotation and

citation omitted).

        In Vitamins, the complaint alleged a single conspiracy to artificially inflate the prices of

certain vitamins and vitamin products, allocate shares of the vitamin market among the

conspirators, predetermine sales volume in the vitamin industry, eliminate competition, limit

supply, and commit other practices constituting per se violations of Section 1 of the Sherman Act.

Id. at *1. In short, just like in this case, plaintiffs “alleged that all defendants participated in a single

conspiracy not to compete on the sale of vitamins.” Id. at *9 & *11. The defendants argued that

there really were three distinct conspiracies, involving (1) bulk vitamins, (2) choline chloride, and

(3) niacin. Id. at *17. And certain defendants had entered into criminal plea agreements related

only to one of the specific types of vitamins. Id. 4 Noting that plaintiffs alleged a single conspiracy


        2
           Contrary to Defendants’ hyperbole, this Court has not rejected that Continental Ore mandates that
DAP’s overarching antitrust claim be tried as one. ECF No. 4834 at 8. In ECF No. 3732, the then-New
DAPs cited Continental Ore for the proposition that severance of the big-rigging allegations into a separate
case would be improper because conspiracies are to be viewed as a whole. ECF No. 3732 at 12. In ECF
No. 3736, the Class Plaintiffs and older DAPs likewise cited Continental Ore for the proposition that the
bid-rigging allegations should not be severed from the rest of the case. ECF No. 3736 at 13-14. The Court
did not sever the bid-rigging allegations—expressly finding that the various facets of the alleged conspiracy
“belong together in the same case.” ECF No. 3835 at 6. The Court has entered no order deciding whether
Continental Ore forbids bifurcation. Indeed, there was no briefing on the issue as the Court bifurcation was
entered sua sponte.
         3
           Defendants cite three cases on page 11 of their brief for the unremarkable proposition that courts
sometimes bifurcate cases. But none of those cases involves a conspiracy, let alone a multifaceted antitrust
conspiracy.
         4
           Here, of course, certain Defendants were criminally charged not only with only bid rigging, but
rather a single conspiracy “to rig bids and to fix, maintain, stabilize, and raise prices and other price-related


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that affected several different vitamins and relying on Continental Ore, the court denied

defendants’ efforts to split the claim into three parts. Id. Because plaintiffs “alleged a single global

conspiracy involving all named defendants, . . . identified the vitamins that were part of the

conspiracy, what the conspirators agreed to do, and how they accomplished their goals” and

requested judgment against all defendants jointly and severally, splitting up the claim was

inappropriate. Id. at *18.

        The same is true here. In Count One, Chick-fil-A has alleged a single conspiracy to raise

the prices of broiler chicken, and that this conspiracy was accomplished by various means

including supply reductions, manipulation of the Georgia Dock index, and bid rigging, among

others. 5 It alleges that all Defendants were involved in that conspiracy. Even if Defendants were

correct that the criminal indictments relate only to bid rigging—and they are not correct (see n.4,

supra)—that does not remove bid rigging from the auspices of the overarching conspiracy. As in

Vitamins, it would be contrary to Continental Ore to split the bid rigging allegations from the rest

of Count One. It would be especially inappropriate to require a trial before there is any discovery

into the bid rigging aspects of the conspiracy, and thus deprive Plaintiffs the ability to demonstrate

how the various Defendants’ various conduct contributed to the overall antitrust scheme.

        Moreover, as demonstrated by Vitamins and contrary to Defendants’ argument,

Continental Ore applies to alleged conspiracies in which each facet is an independent violation of

the Sherman Act—not just to conspiracies where the constituent acts are independently legal.



terms for broiler chicken products sold in the United States.” See Superseding Indictment at 2, U.S. v.
Jayson Penn, et al., 20-CR-152-PAB (D. Colo.) (Oct. 6, 2020). Indeed, the Defendants in the criminal case
recognize that “the government has alleged a wide-ranging conspiracy to fix prices and rig bids for broiler
chicken products.” See Defendants’ Motion Pursuant to Rule 17(c) for Court Order Authorizing Subpoenas
Duces Tecum to Produce Documentary Evidence in Advance of Trial at 1, 20-CR-152-PAB (D. Colo.)
(July 19, 2021) (ECF No. 284).
        5
          Chick-fil-A contends that these alleged acts demonstrate a single, unified conspiracy, but at the
very least they reflect “a series of overlapping and interwoven conspiracies.”


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Indeed, as explained above, Vitamins involved multiple separate actions – agreement to allocate

market share, fix prices and supply among others – that taken alone would be per se violations of

the antitrust laws. 2000 WL 1475705, at *9 (recognizing that individual aspects of the conspiracy

were per se violations).

        These principles were followed in Jung v. Association of American Medical Colleges, 300

F. Supp. 2d 119, 156 (D.D.C. 2004). In Jung, medical school graduates enrolled in residency

programs alleged that certain medical organizations conspired to displace competition in the

recruitment, hiring, employment, and compensation of resident physicians. Id. at 125. The

residents asserted that there were three prongs to the antitrust conspiracy: (1) the assignment of

fourth-year medical students to residency programs by the National Resident Matching Program;

(2) the Accreditation Council for Graduate Medical Education restricting residency employment

by regulating the number of available positions, imposing obstacles to transfer, and other means;

and (3) the exchange of competitively sensitive information on resident compensation to

standardize and stabilize it. When the defendants tried to carve off part of the alleged conspiracy

(in this case because of an arbitration agreement), the court found that doing so “would undermine

the purposes of the Sherman Act by improperly compartmentalizing plaintiffs’ single conspiracy

claim.” Id. at 154. The defendants’ characterization of the single conspiracy claim as “tripartite”

could not “disguise the fact that plaintiffs’ claim alleges a single conspiracy with three interacting

prongs that—when considered together—[were] alleged to have the anticompetitive effect

charged.” Id. at 155.

        There is simply no way to bifurcate this claim over Chick-fil-A’s objection without

ignoring this precedent. 6 Accordingly, the Court should reconsider its Order (which was entered


        6
           The unitary nature of Count One stands in marked contrast to other scenarios where antitrust
plaintiffs bring “clear, separate theories of liability” as part of the same case, which Chick-fil-A would


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before Chick-fil-A was even a party). Additionally, the facts have changed or at least developed

in a way not anticipated, which also warrants reconsideration. Batchelor v. City of Chicago, 2021

WL 825607, at *2 (N.D. Ill. Mar. 4, 2021) (citing Bank of Waunakee v. Rochester Cheese Sales,

Inc., 906 F.2d 1185, 1191 (7th Cir. 1990)) (reconsidering and reversing decision to sever based on

changed circumstances). Here, as explained elsewhere, Defendants have used the Court’s

Bifurcation Order as a means to prevent discovery into a wide variety of issues. See, e.g., ECF No.

4626 at 2 (Court noting the “untenable catch-22” of Defendant’s refusal to produce evidence they

characterize as relevant to bid rigging); ECF No. 4652 at 11. This affects the Court’s ability to try

even the issues that Defendants want tried under a bifurcation scheme.

        In short, bifurcation here is legally impermissible and factually problematic. The Court

should permit discovery on all issues before expert reports, summary judgment, and trial.

        B.       BIFURCATING COUNT ONE WOULD VIOLATE THE SEVENTH
                 AMENDMENT.

        Bifurcating Count One would violate both prongs of the Seventh Amendment: that (1) “the

right of trial by jury shall be preserved,” and (2) “no fact tried by a jury, shall be otherwise re-




agree requires each claim to be assessed individually. See, e.g., U.S. Futures Exch. LLC v. Bd. of Trade of
City of Chi., Inc., 346 F. Supp. 3d 1230, 1249 (N.D. Ill. 2018) (Durkin, J.) (rejecting application of
Continental Ore where, unlike here, “plaintiffs themselves treat their theories as individual ‘claim[s]’ and
analyze them separately”).
         Additionally, there is a unique need to separately assess different theories of antitrust liability when
one or more may be immune or when different theories may be governed by different standards. In U.S.
Futures Exchange, much of the conduct alleged to constitute an antitrust violation was immunized from
antitrust liability, so this Court was required to identify immunized conduct to determine whether the
remaining challenged conduct was sufficient to support antitrust liability. Id. Because the defendants’
conduct was immunized, summary judgment was appropriate. In re Processed Egg Products Antitrust
Litig., 206 F. Supp. 3d 1033, 1039-43 (E.D. Pa. 2016), aff’d, 962 F.3d 719 (3d Cir. 2020), addressed a
completely different question. The court there was concerned that through the single conspiracy allegations
the plaintiffs were attempting to apply per se analysis to conduct that should otherwise be analyzed under
the rule of reason. Id. at 1042 (“[D]espite the fact that the jury is entitled to evaluate the effects of the
unitary conspiracy, Continental Ore is not intended to preclude analysis of the legal basis for the conspiracy
allegation in the plaintiffs’ claim.”). Defendants do not even attempt to argue this is what Plaintiffs here are
trying to do. Thus, Processed Eggs does not answer, or even address, the question presented here.


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examined in any Court of the United States.” 7 There are many situations in which it is appropriate

to bifurcate a case for trial. For example, the claims against different defendants may be tried

separately, as in Houseman v. U.S. Aviation Underwriters, 171 F.3d 1117, 1126 (7th Cir. 1999).

A patent claim can be bifurcated from an antitrust counterclaim, especially when resolution of the

patent issues could moot the antitrust issues. E.g., Audio MPEG, Inc. v. Dell Inc., 254 F. Supp. 3d

798, 805-06 (E.D. Va. 2017); Otsuka Pharm. Co., Ltd. v. Torrent Pharm. Ltd., Inc., 118 F. Supp.

3d 646, 659 (D.N.J. 2015). There are also situations in which bifurcation is not allowed. For

example, when a lawsuit includes both legal claims to be resolved by a jury and equitable claims

to be resolved by the court and there are common factual issues to both claims, the legal claims

must be determined by a jury before court determination of the equitable claims. Otherwise, the

claimant is deprived of the right to a jury trial, as required by the first prong of the Seventh

Amendment. E.g., Shum v. Intel Corp., 499 F.3d 1272, 1276-77 (Fed. Cir. 2007).

        Here, Defendants provide no answer to the key question asked by Chick-fil-A in its opening

brief, which is how can Count One ever be tried in if the facets of the antitrust conspiracy are

bifurcated. The answer is it cannot, for the reasons explained in Chick-fil-A’s brief. Thus,

bifurcating the bid-rigging claims would result in Plaintiffs losing on Count One without summary

judgment or trial. While it is no surprise Defendants support bifurcation, fundamental fairness


        7
          Contrary to Defendants’ contention, Chick-fil-A does not “suggest” that proving companies A
and B rigged bids makes it more likely that companies C, D, E, F, and G entered into a conspiracy. See
ECF No. 4834 at 18. Rather, if Chick-fil-A can prove that companies A through G entered into an
overarching conspiracy to increase the price of broiler chicken, and one facet of that conspiracy was bid
rigging, companies A through G are jointly and severally liable for the resulting damages, even if some did
not participate in every facet of the conspiracy. See In re Generic Pharm. Pricing Antitrust Litig., 394 F.
Supp. 3d 509, 515 (E.D. Pa. 2019) (“The claims asserted in the Overarching Complaints would impose
joint and several liability on Defendants not just for their participation in any individual drug conspiracy,
but also for their participation in the alleged overarching scheme.”). That co-conspirators are liable for all
acts within the conspiracy even if they did not participate in those particular acts (absent withdrawal, which
has stringent requirements) is black letter law that extends well beyond antitrust. E.g., Gomez v. Garda CL
Great Lakes, Inc., 76 F. Supp. 3d 788, 792 (N.D. Ill. 2014) (“‘[T]he overt acts of one conspirator are
attributable to all co-conspirators.’”) (quoting U.S. v. Soto, 48 F.3d 1415, 1425 (7th Cir.1995)).


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requires allowing Plaintiffs the opportunity to present the claims they want to bring, not the claims

Defendants want Plaintiffs to bring.

         Defendants claim that “the first trial will address whether the Defendants agreed to reduce

supply and/or certain Defendants agreed to manipulate the Georgia Dock, while the second trial

will address whether the Defendants or certain Defendants agreed to rig bids.” (ECF No. 4834 at

20.) So according to Defendants, the first trial will address Counts II and III of the Amended

Consolidated Complaint (supply restriction and Georgia Dock) 8 and the second trial will address

Count LIII (bid rigging). 9 But which trial will address Count One? The answer according to the

Defendants is that Count One never gets tried. 10 This alone would violate Plaintiffs’ right to a jury

trial.

         Defendants’ arguments against Chick-fil-A’s Seventh Amendment position work only if

Defendants are permitted to decide unilaterally which claims Plaintiffs can bring. They cannot,

and the Court should recognize the serious Seventh Amendment problems inherent in bifurcating

Plaintiffs’ bid-rigging claims.

         C.     COUNT ONE CANNOT BE BIFURCATED BECAUSE THE FACETS OF
                THE CONSPIRACY ARE INEXTRICABLY INTERTWINED.

         Apart from being precluded by Continental Ore and the Seventh Amendment, bifurcation

of this case for summary judgment and trial is inappropriate because the facets of the antitrust

conspiracy are inextricably interwoven. Vill. of Stillwater v. Gen. Elec. Co., 2010 WL 4025601, at




         8
           See ECF No. 4243/4244 at p. 318-325.
         9
           Id. at 406-410.
         10
            Defendants assert in a footnote that Chick-fil-A somehow waived its Seventh Amendment
argument because it was not raised before the Bifurcation Order was entered. See ECF No. 4834 at 8 & 17
n.15. Defendants never even try to explain how Chick-fil-A’s constitutional rights can be forfeited because
it did not make an argument where (a) the Court entered the Order sua sponte (so there was no briefing or
argument by any of the Plaintiffs) and (b) Chick-fil-A was not even a party to this proceeding when the
Order was entered. Defendants’ unserious and undeveloped argument should be summarily rejected.


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*3 (N.D.N.Y. Oct. 13, 2010). See also Trading Tech. Intern., Inc. v. Espeed, Inc., 431 F. Supp. 2d

834, 841 (N.D. Ill. 2006) (“‘[W]here issues to be presented in the two trials sufficiently overlap,

bifurcation should be denied.’”) (quoting Keyes Fibre Co. v. Packaging Corp. of Am., 763 F. Supp.

374, 375 (N.D. Ill. 1991)). Indeed, this Court’s prior findings recognize as much. The Court

recognized that Defendants’ actions may constitute a “single conspiracy” that may have “use[d]

different means at different times.” ECF No. 3835 at 7. Thus, there is “extensive overlap” and

discovery for the various facets of the conspiracy is “thoroughly intertwined” in terms of the scope

of relevant documents, custodians, and deponents. Id. at 4. This has been confirmed by the

Department of Justice, which charged certain Defendants with a single conspiracy “to rig bids and

to fix, maintain, stabilize, and raise prices and other price-related terms for broiler chicken products

sold in the United States.” See Superseding Indictment at 2, U.S. v. Jayson Penn, et al., 20-CR-

152-PAB (D. Colo.) (Oct. 6, 2020).

        Defendants appear to suggest otherwise in their briefing. See ECF No. 4834 at 13-14. But

the fact is that Plaintiffs have been deprived of discovery into the bid rigging claims and anything

related to the bid rigging claims. And while it is possible, although unlikely, that Defendants could

make a compelling case for bifurcation after all the facts are known, that decision should be made

after discovery, not before. 11 Defendants seek bifurcation not only to eliminate Count One and

artificially cabin Plaintiffs’ evidence at trial, but also to prevent inquiry into the scope of their

conduct. Those are not good reasons for bifurcation.




        11
           Defendants argue that Chick-fil-A has not put forth “facts to support an ‘overarching’ agreement
to fix broiler prices.” ECF No. 4834 at 6 & 12. But that is the exact discovery that Defendants refuse to
produce—anything that could support Plaintiffs’ position that bid-rigging was part of the Defendants’
overarching conspiracy. But even without any discovery, Chick-fil-A provided a list of actual facts—
interrelated evidence—pled to support the existence of a single conspiracy to raise the prices of broiler
chickens. ECF No. 4754 at 12.


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II.     EVEN IF THE COURT HAD DISCRETION TO SPLIT COUNT ONE INTO
        THREE SEPARATE CLAIMS, DOING SO WOULD NOT EXPEDITE OR
        ECONOMIZE THE CASE AND WOULD PREJUDICE CHICK-FIL-A.

        A.      THIS CASE CAN PROCEED MOST EXPEDITIOUSLY AND
                ECONOMICALLY IF IT IS PHASED RATHER THAN BIFURCATED.

        This Court’s expressed goal in bifurcating the bid rigging allegations was expedient

resolution of this case. ECF No. 3835 at 8. Chick-fil-A’s proposal would maintain what was

achieved in the Bifurcation Order by not upsetting the trial setting of the bellwether trial in early

2023 focused largely on supply restriction and Georgia Dock allegations. It would also further the

Court’s goal by substantially lessening the time to a final resolution of the entire case. An entire

second round of discovery, expert discovery, dispositive motion practice, and trial would be

eliminated. The only tradeoff is that the expert discovery and briefing of dispositive motions would

occur roughly a year apart for the bellwether Plaintiffs and Chick-fil-A and other DAPs. It is hard

to see how this harms anyone, and Defendants’ professed concern about “multiple rounds” of

briefing on the supply reduction and Georgia Dock allegations is illusory. The volume of briefing

on these issues would be the same—the briefs would just be set off in time. 12 And the total volume

of briefing would go down, because there would not be a second round of “merits expert briefing

and summary judgment” devoted exclusively to bid rigging allegations. Thus, not only is Chick-

fil-A’s proposal both fair and workable, it actually furthers the goal of bringing this litigation to a

speedier conclusion.

        Defendants’ complaint about “two rounds” of discovery on bid-rigging (ECF No. 4834 at

5) is also uncompelling. Two rounds of discovery on bid rigging will happen regardless, at least

to some extent. Each Plaintiff has a right to discover evidence that might be admissible under Rule


        12
          This time will be well spent. The bid rigging discovery is not geared toward learning whether bid
rigging occurred; we know it did, as there has already been a guilty plea in the criminal proceedings. The
discovery will reveal the extent of the bid rigging and how it was accomplished.


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404(b), and many have requested such discovery before they brief dispositive motions and try their

cases. See ECF Nos. 4750-1 & 4832. 13 Chick-fil-A and the other DAPs are entitled to discovery

on bid-rigging (outside the Rule 404(b) context); the only issue is whether that discovery takes

place before or after a first round of trials.

        And the alternative to the “two trials” Defendants bemoan is three or four trials—one on

bellwether Plaintiffs’ supply restriction and Georgia Dock allegations, 14 a second on Chick-fil-A

and other DAPs’ supply and Georgia Dock allegations, a third on Chick-fil-A and other DAPs’

bid rigging allegations, and perhaps a fourth on bellwether Plaintiffs’ bid rigging allegations, since

Defendants argue that most parties allege bid rigging and might want to try that facet of the

antitrust conspiracy. 15

        Indeed, Defendants’ professed concern about two rounds of discovery and two trials is

essentially an argument that the case should not be bifurcated at all. Chick-fil-A agrees, with

respect to its own claims, but vacating the Bifurcation Order as to all Plaintiffs would delay the

bellwether trials—a result the Court and all parties have sought to avoid. The preferable case

management solution is the two tracks Chick-fil-A has proposed.

        Even if bifurcation may have been allowable and appropriate at one point, it no longer is.

The situation is similar to that in Advanced Microtherm, where the district court ordered a “single

unified trial” of plaintiffs’ antitrust claims because its order tentatively requiring separating trials

“appear[ed] to be becoming an obstacle to efficient discovery and trial preparation”. Advanced


        13
            The Kroger and Publix plaintiffs have made clear that they seek only documents that have already
been produced to or by the government, ECF No. 4750-1 at 3. Requiring Defendants to provide the
requested documents cannot be characterized as a “round of discovery.”
         14
            A trial on supply restriction and Georgia Dock allegations in which limited evidence of big
rigging is introduced under Rule 404(b) would not constitute a “trial on bid rigging” as Defendants contend.
ECF No. 4834 at 5.
         15
            Chick-fil-A has not “volunteered” anyone to be a bellwether plaintiff. Publix and Kroger are
anxious to go to trial, as they have indicated to the Court more than once.


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Microtherm, Inc. v. Norman Wright Mech. Equip. Corp., 2009 WL 2136916, at *1 (N.D. Cal. July

16, 2009). Here, As in Advanced Microtherm, “separate trials are no longer appropriate in this

case.” Id. at *3. Indeed, in the most recent scheduling hearing, Judge Gilbert recognized that the

plan Chick-fil-A suggests alleviates the most collective concerns of the various parties. He

suggested that those plaintiffs desiring to go to trial sooner try their supply restriction and Georgia

Dock allegations, perhaps with Rule 404(b) evidence on bid rigging, but not have a later, second

trial exclusively on bid rigging. ECF No. 4814, May 24, 2021 Tr. at 43:3-45:20. The DAPs,

including Chick-fil-A, requesting a single trial that includes all allegations could then follow with

a separate discovery track and trial approximately a year later. Id. at 44:21-45:19. This is the most

expedient and economical way to proceed.

        B.      BIFURCATION WOULD PREJUDICE CHICK-FIL-A.

        Chick-fil-A will be unduly prejudiced if the Bifurcation Order remains in place. As

explained above, Chick-fil-A will be deprived of prosecuting Count One without the Court or a

jury ever considering its claim on the merits.

        And the prejudice to Chick-fil-A will not end there. First, Chick-fil-A will be hamstrung

in its presentation of the supply reduction and Georgia Dock facets of the conspiracy alone if the

case proceeds it its current posture. The reason is simple. Defendants hide behind the Bifurcation

Order in refusing to provide any discovery that might have any tangential relationship to bid

rigging, even if probative of the supply reduction or Georgia Dock allegations. 16 It would be

manifestly unfair to force Chick-fil-A to proceed to trial on only part of its claim without even

having the benefit of all the evidence relevant to that part. 17


        16
           See, e.g., ECF No. 4626 at 2; ECF No. 4652 at 11; ECF No. 4546; ECF No. 4460.
        17
           Defendants’ accusation that Chick-fil-A has “invoked the Bifurcation Order to shield entire
categories of its own documents as purportedly implicating bid rigging” (ECF No. 4834 at 24) is untrue. A
review of the very exhibit that Defendants cite to claim that Chick-fil-A refused to provide discovery proves


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        Second, if bid rigging discovery is delayed until trials on the other facets of the conspiracy

are resolved, Chick-fil-A could be hamstrung in its ability to prove its case by fading memories

and witnesses becoming unavailable in the intervening years. Defendants’ suggestion that Chick-

fil-A needs to name witnesses who may become unavailable or whose memories will fade defies

common sense. No special training or knowledge is needed to understand that the passage of time

leads to fading memories and unavailability of witnesses. Indeed, Defendants themselves have

raised this issue. In response to DAPs interrogatories, Sanderson Farms complained that three key

witnesses had died between 2011 and 2018: the former CEO, COO, and CFO of Tyson. See Ex.

A, Excerpt from Sanderson Farms’ Amended Answer to Direct Action Plaintiffs’ Interrogatory

No. 3, at 7 ¶ 16. In addition, Pilgrim’s founder and former CEO has passed away, and other

witnesses have retired our sought accommodation for limitations related to advanced age. See ECF

No. 2289 at 9 & ECF No. 3113 at 4-5. This trend will only get worse in the years ahead, so

minimizing the time that will elapse before bid rigging discovery proceeds is crucial to avoiding

more prejudice to Chick-fil-A.

        For these reasons as well as the others set forth in Chick-fil-A’s Supplemental Brief (ECF

No. 4754), the prejudice to Chick-fil-A if the Bifurcation Order is not partially reconsidered—the

most important factor in a bifurcation analysis—is simply too great. Conversely, Defendants do

not argue that they will be prejudiced if this case is not bifurcated for summary judgment and trial.

That is because they will not be.




the exact opposite: Chick-fil-A has not withheld a single document because it relates to bid rigging. As
Chick-fil-A stated at least three times in the email string, it simply believes that in the interest of fairness,
the same rules should apply to Plaintiffs and Defendants. That has not occurred to date: Defendants have
demanded and received discovery that touches on bid rigging, while refusing to provide any discovery that
might have any tenuous or conceivable connection to bid rigging, even if clearly also related to supply
reduction or Georgia Dock manipulation.


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                                        CONCLUSION

       For the reasons set forth in Chick-fil-A’s Supplemental Brief (ECF No. 4754) and above,

Chick-fil-A requests that the Bifurcation Order be partially reconsidered and modified, and the

scheduling order updated accordingly.


Dated: July 23, 2021                       /s/ Ryan P. Phair

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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 23rd day of July, 2021, I caused a true and correct copy of the

foregoing document to be served upon all counsel of record via the Court’s CM/ECF system.

                                                    /s/ Ryan P. Phair
                                                    Ryan P. Phair
